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EXHIBIT A
Amounts Due from USF Holland LLC as of 10/26/2023
    Date Incurred      Amount         Description

Pre-Petition
         07/12/23        12,957.00    Holland Board of Public Works for Electric, Water and Sewer
         07/26/23            44.00    Holland Board of Public Works for Fire Protection
         08/01/23        52,397.47    Rent
         08/05/23         2,619.87    Rent late charge
Total                    68,018.34

Due through Cure Notice Date (10/26/2023)
        08/07/23           525.00    Legal fees
        08/09/23           462.50    Legal fees
        08/10/23        11,182.77    Holland Board of Public Works for Electric, Water and Sewer
        08/10/23           259.15    Holland Board of Public Works for Electric, Water and Sewer
        08/15/23       183,887.31    Property taxes
        09/01/23         2,619.87    8/1 Rent late charge
        09/15/23         9,194.37    Property taxes late charge
        10/01/23         2,750.86    8/1 Rent late charge
        10/01/23         6,577.44    Holland Board of Public Works for Electric, Water and Sewer
        10/15/23            57.20    Holland Board of Public Works for Fire Protection
        10/15/23         9,654.09    Property taxes late charge
        10/19/23         1,200.00    Legal fees
Total                  228,370.56

Total as of 10/26/23    296,388.90

Due after Cure Notice Date (thru 11/15/2023)
        11/01/23          2,888.41     8/1 Rent late charge
        11/01/23          6,140.25     Holland Board of Public Works for Electric, Water and Sewer
        11/15/23        10,136.79      Property taxes late charge
        11/15/23              45.14    Holland Board of Public Works for Fire Protection
Total                   19,210.59
